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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 ROBERT W. CRENSHAW,

                        Plaintiff,

 vs.                                      Case No.   2:03-cv-134-FtM-29SPC

 ROBERT LISTER; WILLIAM CLEMENT,
 FAWCETT HOSPITAL, DET. CPL. PAUL
 TIERNEY, DET. CPL. CHRIS JOHNSON,
 EMMITT MERRITT, DET. SGT. RICH
 CHANDLER, SANDY OLIVO, SGT. MICHAEL
 SAVAGE, DFC STEVE WINDISH,

                     Defendants.
 ___________________________________

                             OPINION AND ORDER

       This matter comes before the Court on Defendant Michael

 Savage’s Motion to Dismiss Amended Complaint (Doc. #128) and

 defendant Chris Johnson’s Motion to Dismiss Amended Complaint (Doc.

 #127).   Both motions were filed on December 19, 2005.           Plaintiff

 filed his Response on January 9, 2006.        (Doc. #129).

                                     I.

       In deciding a Rule 12(b)(6) motion to dismiss, the Court must

 accept all factual allegations in a complaint as true and take them

 in the light most favorable to the plaintiff.              Christopher v.

 Harbury, 536 U.S. 403, 406 (2002); Hill v. White, 321 F.3d 1334,

 1335 (11th Cir. 2003).     A complaint should not be dismissed unless

 it appears beyond doubt that the plaintiff can prove no set of

 facts that would entitle them to relief.            Conley v. Gibson, 355

 U.S. 41, 45-46 (1957) (footnote omitted); Marsh v. Butler County,
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 Ala., 268 F.3d 1014, 1022 (11th Cir. 2001)(en banc).            To satisfy

 the pleading requirements of Fed. R. Civ. P. 8, a complaint must

 simply give the defendant fair notice of what the plaintiff’s

 claims are and the grounds upon which they rest.          Swierkiewicz v.

 Sorema N.A., 534 U.S. 506, 512 (2002).        While the federal pleading

 burden is not great, it nonetheless requires fair notice of the

 claim and the grounds upon which the claim rests.           Dura Pharms.,

 Inc. v. Broudo, 125 S. Ct. 1627, 1634 (2005).        The Eleventh Circuit

 imposes “heightened pleading requirements” for section 1983 cases

 which involve individuals entitled to assert qualified immunity.

 Swann v. Southern Health Partners, Inc., 388 F.3d 834 (11th Cir.

 2004)(citing Leatherman v. Tarrant County, 507 U.S. 163 (1993)).

 The heightened pleading standard is not otherwise applicable.           The

 Court   must   limit    its   consideration   to    well-pleaded   factual

 allegations, documents central to or referenced in the complaint,

 and matters judicially noticed.        La Grasta v. First Union Secs.,

 Inc., 358 F.3d 840, 845 (11th Cir. 2004).          Dismissal is warranted

 however if, assuming the truth of the factual allegations of the

 plaintiff’s complaint, there is a dispositive legal issue which

 precludes relief.      Neitzke v. Williams, 490 U.S. 319, 326 (1989);

 Brown v. Crawford County, Ga., 960 F.2d 1002, 1009-10 (11th Cir.

 1992). The Court need not accept unsupported conclusions of law or

 of mixed law and fact in a complaint.          Marsh, 268 F.3d at 1036

 n.16.


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                                      II.

      Plaintiff, an inmate currently incarcerated in the Florida

 penal system and proceeding pro se, filed a fifteen-count amended

 civil rights complaint pursuant to 42 U.S.C. § 1983 (Doc. #112) on

 October 17, 2005 (the “Amended Complaint”).           The Amended Complaint

 relates    to    events   that   occurred    during    and    subsequent    to

 plaintiff’s arrest, but prior to his conviction.             Plaintiff names,

 inter alia, defendant Michael Savage, a Charlotte County internal

 affairs officer who investigated plaintiff’s claims of excessive

 use of force against various deputies, and defendant Chris Johnson,

 a Charlotte County detective who accompanied plaintiff to the

 hospital and subsequently interrogated plaintiff after his arrest.

      The Amended Complaint recounts that on November 28, 2001,

 after an incident of armed robbery, plaintiff was attacked by a

 police canine in his attempt to surrender to the local authorities.

 Plaintiff was then taken to Fawcett Hospital where he received

 medical treatment for the injuries sustained during the canine

 attack.    Defendant Johnson was present at the Fawcett Hospital

 while plaintiff was being treated for his injuries.                Plaintiff

 alleges that defendant Johnson “used his police powers to restrict

 and deny plaintiff proper medical care by his interference with

 medical doctors, and further, removed the plaintiff from the

 hospital prior to treatment for all of plaintiff’s injuries, which

 resulted    in    additional     scarring,   physical     discomfort,      and


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 preventing doctors from conducting and treating all of plaintiff’s

 injuries.”     (Doc. #112, p. 9).     Count VII alleges that Johnson’s

 conduct violated plaintiff’s Eighth Amendment right to medical care

 by removing him from his medical provider before treatment of all

 injuries.

       Following the hospital visit, plaintiff was escorted to “the

 interrogation room at the Major Crimes Unit.”           (Id.).    Throughout

 the   interrogation,    plaintiff   claims,    defendant    Rick    Chandler

 “abused and used his police powers to inflict physical injuries

 upon the plaintiff while plaintiff was restrained and still in

 discomfort from the failure to receive his medication.”               (Id.).

 Plaintiff also alleged that “defendant Chandler intentional [sic]

 slammed the palm of his hand against plaintiff’s lip and injury to

 plaintiff’s jaw.”      (Id.).

       Plaintiff filed a report surrounding the circumstances of his

 arrest and interrogation with internal affairs.          Defendant Savage,

 the   investigating    internal   affairs    officer,    investigated    the

 incident, but failed to follow the Sheriff’s Department policy to

 take written or taped statements from the complainant, and failed

 to conduct a thorough investigation.         This resulted in a coverup,

 and   caused   plaintiff   to   suffer    additional   physical    injuries.

 Counts XI and XII allege that officer Savage violated plaintiff’s

 Fifth Amendment due process rights by failing to follow established




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 Sheriff’s     Department     policies     in   the    internal     affairs

 investigation. Additional factual allegations are set forth below.

                                    III.

      Title 42 U.S.C. § 1983 imposes liability on anyone who, under

 color of state law, deprives a person “of any rights, privileges,

 or immunities secured by the Constitution and laws.”          To establish

 a claim under 42 U.S.C. § 1983, plaintiff must prove that (1)

 defendants deprived him of a right secured under the Constitution

 or federal law, and (2) such deprivation occurred under color of

 state law.   Arrington v. Cobb County, 139 F.3d 865, 872 (11th Cir.

 1998); U.S. Steel, LLC v. Tieco, Inc., 261 F.3d 1275, 1288 (11th

 Cir.), reh’g and reh’g en banc denied, 277 F.3d 1381 (11th Cir.

 2001). In addition, plaintiff must establish an affirmative causal

 connection between the defendant’s conduct and the constitutional

 deprivation.    Marsh, 268 F.3d at 1059; Swint v. City of Wadley,

 Ala., 51 F.3d 988 (11th Cir. 1995); Tittle v. Jefferson County

 Comm'n, 10 F.3d 1535, 1541 n.1 (11th Cir. 1994).

      A.   Official Capacity Claims

      Plaintiff sues both Johnson and Savage in both their official

 and individual capacities.         However, plaintiff also sues the

 Sheriff in his official capacity, and therefore the official

 capacity claims against the deputies will be dismissed. It is well

 settled that an official capacity suit is essentially a suit

 against the entity, and is redundant where the entity or its


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 representative is a party to the suit. McMillian v. Monroe County,

 520 U.S. 781, 785 n.2 (1997); Kentucky v. Graham, 473                    U.S. 159,

 165 (1985); Cooper v. Dillon, 403 F.3d 1208, 1221 n.8 (11th Cir.

 2005); Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir.

 1991).      Accordingly, the official capacity claims as to these

 defendants will be dismissed.

       B.    Defendant Chris Johnson

       In his motion, defendant Johnson contends that the Amended

 Complaint        should   be   dismissed    for   failure   to   state    a   claim.

 Defendant Johnson argues that (1) the Amended Complaint is devoid

 of any allegations that plaintiff had a serious medical need at the

 time of the incident, and (2) plaintiff failed to make allegations

 as   to    how    defendant    Johnson’s     conduct   constituted       deliberate

 indifference of any serious medical need.              Plaintiff responds that

 “the factual allegations state that defendant used his police

 powers to restrict and delay plaintiff proper medical care by

 interference and then, by removal from the hospital prior to

 treatment for all of plaintiff’s injuries.              Such action if proven,

 would rise to a level of deliberate indifference sufficient to

 state a claim for relief.”          (Doc. #129).

       As a pretrial detainee, plaintiff had no Eighth Amendment

 rights.      “In the case of a pre-trial detainee . . . the Eighth

 Amendment prohibitions against cruel and unusual punishment do not

 apply.”     Cook v. Sheriff of Monroe County, Fla., 402 F.3d 1092,


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 1115 (11th Cir. 2005)(citation and quotation omitted).               Rather,

 plaintiff’s right against cruel and unusual punishment as a pre-

 trial detainee is premised on the due process clause of the

 Fourteenth Amendment.     Cook, 402 F.3d at 1115.      See also Purcell v.

 Toombs County, Ga., 400 F.3d 1313, 1318 n.13 (11th Cir. 2005);

 Wilson v. Blankenship, 163 F.3d 1284, 1291 (11th Cir. 1998).             This

 pleading defect is inconsequential, however, because the legal

 standards under the Eighth Amendment and the Fourteenth Amendment

 due process clause are the same, and the Eighth Amendment case law

 is applicable.    Cook, 402 F.3d at 1115; Taylor v. Adams, 221 F.3d

 1254, 1257 n.3 (11th Cir. 2000); Lancaster v. Monroe County, Ala.,

 116 F.3d 1419, 1425, n.6 (11th Cir. 1997).                   “Thus, pretrial

 detainees . . . plainly have a Fourteenth Amendment due process

 right to receive medical treatment for illness and injuries, . . .”

 Cook, 402 F.3d at 1115.

       The applicable legal standards are well-established.                “An

 officer violates a detainee’s Fourteenth Amendment right to due

 process if he acts with deliberate indifference to the serious

 medical needs of the detainee.”      Crosby v. Monroe County, 394 F.3d

 1328, 1335 (11th Cir. 2004)(quoting Lancaster, 116 F.3d at 1425).

 To   show   deliberate   indifference     to   a   serious    medical   need,

 plaintiffs must establish both an objective and a subjective prong.

 Plaintiff must first prove an objectively serious medical need,

 then he must prove that the jail official acted with an attitude of


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 deliberate indifference to that need.          Bozeman v. Orum, 422 F.3d

 1265, 1272 (11th Cir. 2005); Brown v. Johnson, 387 F.3d 1344, 1351

 (11th Cir. 2004); Farrow v. West, 320 F.3d 1235, 1243 (11th Cir.

 2003).   A “serious medical need” is one that has been diagnosed by

 a physician as mandating treatment or one that is so obvious that

 even a lay person would easily recognize the necessity for a

 doctor’s attention, and, in either case, must be one that if left

 unattended poses a substantial risk of serious harm.               Brown, 387

 F.3d at 1351; Farrow, 320 F.3d at 1243.         To establish “deliberate

 indifference,” plaintiffs must prove (1) subjective knowledge of a

 risk of serious harm; (2) disregard of that risk; and (3) by

 conduct that is more than mere negligence.            Bozeman, 422 F.3d at

 1272;    Brown,   387   F.3d   at   1351;   Farrow,   320   F.3d    at   1245.

 Inadvertent or negligent failure to provide adequate medical care

 does not rise to a constitutional violation.           Farrow, 320 F.3d at

 1243.

      Viewing all allegations in the Complaint as true, the Court

 finds that plaintiff has failed to adequately state a Fourteenth

 Amendment claim against defendant Johnson.        Plaintiff asserts that

 defendant Johnson interfered with the medical treatment and removed

 plaintiff from Fawcett Hospital before the doctors could complete

 the treatment.     This Circuit recognizes that “short of refusal, a

 government official’s delay in obtaining medical treatment for a

 pretrial detainee’s serious medical needs also can form the basis


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 of a Fourteenth Amendment due process claim.”                     Hill, 40 F.3d at

 1187. However, the Amended Complaint lacks any factual allegations

 indicating that plaintiff’s remaining untreated medical needs were

 serious or that Johnson had subjective knowledge of such serious

 medical needs or acted with more than negligence.                     Thus, the Court

 finds that defendant Johnson’s Motion to Dismiss is due to be

 granted.

       C.    Defendant Michael Savage

       Defendant Savage’s Motion to Dismiss contends that plaintiff

 fails      to   state     a   claim   for       a    violation        of   plaintiff’s

 constitutional right against cruel and unusual punishment under the

 Fourteenth Amendment. For the same reasons as discussed above, the

 Court finds that this claim should be dismissed.                           The Amended

 Complaint lacks any factual allegations relating to the seriousness

 of   plaintiff’s        medical   needs    at       the   time   of    the   incident.

 Moreover, defendant Savage was not alleged to have been present

 during the arrest, subsequent medical treatment or interrogation of

 plaintiff, and there are no allegations regarding his subjective

 knowledge of plaintiff’s medical condition. To the extent that the

 Amended Complaint includes a cruel and unusual punishment claim

 against defendant Savage, the Motion to Dismiss is due to be

 granted.

       Plaintiff also brings a claim against defendant Savage for

 failing to conduct a proper internal affairs investigation into the


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 conduct of the other officers.           Specifically, plaintiff asserts

 that his right to due process under the Fifth Amendment was

 violated.    However, the Fifth Amendment applies to actions by the

 federal government, not actions by the state government. Riley v.

 Camp, 130 F.3d 958, 972 n.19 (11th Cir. 1997).           The Court therefore

 finds that to the extent that plaintiff attempts to bring a Fifth

 Amendment due process claim, the Motion to Dismiss is due to be

 granted.

       According to the Amended Complaint, defendant Savage “was

 required    to   conduct   an    internal     affairs   investigation     under

 Charlotte    County    Sheriff’s    Department    policy   .    .   .   however,

 defendant Savage failed to follow said policy, and as a result

 thereof, plaintiff suffered injury.”              (Doc. #112, ¶ 22).         In

 failing to do so, plaintiff asserts that “[d]efendant Savage, by

 his actions and inactions knowingly and willfully participated in

 covering up the illegal acts of other defendants with the intent to

 deprive the plaintiff of proper redress of his rights to adequate

 medical care and the right to be free from the cruel and unusual

 punishment inflicted upon plaintiff by the other defendants actions

 and inactions.”       (Id.).    Plaintiff also claims that “[d]efendant

 Savage’s    actions    further     deprived    plaintiff   of   treatment    of

 injuries not previously treated and was deliberately indifferent to

 plaintiff’s medical needs and right to be free from cruel and

 unusual punishment.”       (Id.).


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       The Eleventh Circuit recognizes a cause of action for failing

 to conduct a constitutionally sufficient investigation if defendant

 is arrested as a result of the investigation.                   Kingsland v. City of

 Miami, 382 F.3d 1220, 1228-31 (11th Cir. 2004).                            However, the

 investigation in this case did not result in his arrest. Defendant

 Savage’s involvement with the incident was limited to the internal

 affairs     investigation    of      the      officers    who    were      involved    in

 plaintiff’s arrest, which found no basis for action against these

 officers.    Plaintiff has no standing to complain about the quality

 of    the    investigation      of      others,      and       has    no     actionable

 constitutional cause of action against defendant Savage based on

 the quality of his investigation.                  Vinyard v. Wilson, 311 F.3d

 1340, 1356 (11th Cir. 2002)(Arrestee “has no substantive right of

 any kind to an investigation of her excessive force complaint by

 the Sheriff’s Office, much less one created by the Constitution,”

 and   has   no   “entitlement     to    an     internal       investigation     by    the

 Sheriff’s Office of her complaints of police brutality.”).                        Thus,

 defendant     Savage’s   Motion        to     Dismiss    as    to    the    failure    to

 investigate claim is due to be granted.

       Accordingly, it is now

       ORDERED:

       1.     Defendant Chris Johnson’s Motion to Dismiss Amended

 Complaint (Doc. #127) is GRANTED. Plaintiff’s Amended Complaint is

 DISMISSED without prejudice against defendant Johnson.



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       2.    Defendant Michael Savage’s Motion to Dismiss Amended

 Complaint (Doc. #128) is GRANTED. Plaintiff’s Amended Complaint is

 DISMISSED without prejudice against defendant Savage.

       3.   The Clerk of the Court shall withhold entry of judgment

 until the conclusion of the case.

       DONE AND ORDERED at Fort Myers, Florida, this          17th    day of

 April, 2006.




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